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 1                               UNITED STATES DISTRICT COURT
 2                             NORTHERN DISTRICT OF CALIFORNIA
 3                                        OAKLAND DIVISION
 4
       CHRISTOPHER CORCORAN, et al.,                   No. 15-CV-03504-YGR
 5
                                     Plaintiffs,
 6                                                     [PROPOSED] JUDGMENT IN A CIVIL
                      v.                               CASE
 7
       CVS PHARMACY, INC.,
 8
                                     Defendant.
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            For the reasons set forth in this Court’s Order Granting in Part Plaintiffs’ Motion for
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     Class Certification; Granting in Part Defendant’s Motion to Exclude Certain Opinions by Dr.
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     Hay; and Granting Defendant’s Motion for Summary Judgment (Sept. 5, 2017, Dkt. No. 327),
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            IT IS ORDERED AND ADJUDGED
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            That pursuant to the Court’s Order granting Defendant’s motion for summary judgment,
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     judgment is hereby entered in favor of Defendant and against named Plaintiffs Christopher
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     Corcoran, Zulema Avis, Debbie Barrett, Gilbert Brown, Carolyn Caine, Tyler Clark, Robert
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     Garber, Vincent Gargiulo, Amanda Gilbert, Zachary Hagert, Robert Jenks, Toni Odorisio,
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     Onnolee Samuelson, Carl Washington, and Walter Wulff on the entirety of their claims asserted
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     in the Third Amended Complaint (Dkt. No. 101).
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     Dated: September
            ______________
                      13, 2017                     ______________________
21                                                 Hon. Yvonne Gonzalez Rogers
                                                   United States District Court Judge
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                                                                                  [PROPOSED] JUDGMENT
                                                     -1-                           NO. 15-CV-03504-YGR
